Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 1 of 18 PageID: 3254



                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


  JOSEPH DIBUONAVENTURA,                  Civil Action No. 1:17-cv-05120


                   Plaintiff,              ELECTRONICALLY FILED

        v.                                 Motion Date: December 17, 2018

  SEAN DALTON, RAFAEL MUNIZ,
  in their individual capacities

                   Defendants.


        REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANT
   SEAN DALTON’S MOTION TO DISMISS COUNTS II, IV AND V, AND,
      IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT AS TO
                          COUNT IV




                                    ARCHER & GREINER
                                    A Professional Corporation
                                    One Centennial Square
                                    P.O. Box 3000
                                    Haddonfield, NJ 08033-0968
                                    (856) 795-2121

                                    Attorneys for Defendant Sean Dalton

                                    By:    JOHN C. CONNELL, ESQUIRE
                                           LAURA LINK, ESQUIRE
                                           DANIEL J. DEFIGLIO, ESQUIRE
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 2 of 18 PageID: 3255



                                        TABLE OF CONTENTS

 TABLE OF AUTHORITIES ................................................................................ ii
 I.      INTRODUCTION .......................................................................................1
 II.     ARGUMENT...............................................................................................2
         A.      The “Continuing Violations” Doctrine Does Not Salvage
                 Plaintiff’s Untimely Constitutional Claims. .......................................2
         B.      Plaintiff Has Failed to Demonstrate that His Claims Should
                 Survive Application of the Collateral Estoppel Doctrine. ...................5
         C.      Plaintiff’s Political Retaliation Claim Must Also Fail for Failure
                 to State a Claim. .................................................................................7
         D.      Plaintiff’s Equal Protection Claim Still Fails as a Matter of
                 Law. ...................................................................................................9
         E.      Plaintiff’s Due Process Claim Still Fails as a Matter of Law. ........... 12
         F.      Plaintiff’s Argument that Defendant Dalton is Not Entitled to
                 Immunity Because He Was Not Acting in an Investigative or
                 Administrative Capacity Is Without Merit. ...................................... 13
 III.    CONCLUSION ......................................................................................... 14




                                                          -i-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 3 of 18 PageID: 3256



                                    TABLE OF AUTHORITIES

                                                                                                        Page(s)

 Federal Cases
 Carter v. City of Phila.,
   181 F.3d 339 (3d Cir. 1999) ............................................................................. 13

 Couch v. Bd. of Trs. of the Mem. Hosp.,
   587 F.3d 1223 (10th Cir. 2009) ..........................................................................4

 Enquist v. Oregon Dep’t of Agric.,
   553 U.S. 591 (2008) ................................................................................... 10, 11

 Fresh Prepared Foods, Inc. v. Farm Ridge Foods LLC,
    2013 U.S. Dist. LEXIS 128064 (D.N.J. Sept. 9, 2013) .......................................6

 Kuerbitz v. Meisner,
   2017 U.S. Dist. LEXIS 152767 (E.D. Mich. Sept. 20, 2017)..............................8

 Michaels v. New Jersey,
   50 F. Supp. 2d 353 (D.N.J. 1999)..................................................................... 13

 Myers v. County of Somerset.
   515 F. Supp. 2d 492 (D.N.J. 2007).....................................................................3

 O’Connor v. City of Newark,
   440 F.3d 125 (3d. 2006) .....................................................................................3

 Parklane Hosiery Co, Inc. v. Shore,
   439 U.S. 322 (1979) ...........................................................................................7

 State Cases
 Bondi v. Citigroup, Inc.,
   423 N.J. Super. 377 (App. Div. 2011) ............................................................ 7, 9

 Gregory Management Corp. v. Wakefern Food Corp.,
   207 N.J. Super. 607 (Law Div. 1986) ............................................................. 7, 9

 Lyons v. City of Camden,
    2018 WL 1056215 (N.J. Super. Ct. App. Div. Feb. 27, 2018) ............................6

                                                       -ii-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 4 of 18 PageID: 3257



 Winters v. No. Hudson Regional Fire & Rescue,
   212 N.J. 67 (2012) ......................................................................................... 5, 6

 State Statutes

 N.J.S.A. 40A:14-152.1 ............................................................................................8

 Constitutional Provisions
 First Amendment ............................................................................................ 3, 4, 8




                                                        -iii-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 5 of 18 PageID: 3258



 I.    INTRODUCTION
       The lynchpin of Plaintiff’s opposition to the present motion is his repeated

 insistence – without basis in law or fact – that Defendant Dalton was acting as

 Plaintiff’s employer. This includes when Dalton oversaw the criminal investigation

 pertaining to Plaintiff’s conduct, and when Dalton advised Chief Muniz of the

 Washington Township Police Department (“WTPD”) that the criminal

 investigation and prosecution had ended so that the WTPD could proceed with its

 internal affairs investigation as it deemed fit. This gross misrepresentation is

 critical because it reveals why this Court, the parties, and the public continue to be

 unnecessarily burdened by Plaintiff with yet another baseless action regarding the

 lawful termination of his employment – given that ALL of Plaintiff’s claims

 lodged against his true employer, the WTPD, have failed, Plaintiff is now asserting

 the same claims against a new target who he is desperately attempting to

 mischaracterize as an additional employer. Plaintiff’s attempts to cast Defendant

 Dalton as his employer are patently absurd.

       Additionally, Plaintiff’s opposition has failed to adequately address a

 number of fatal flaws in Plaintiff’s claims. As set forth in more detail below, (1)

 Plaintiff’s reliance on the continuing violations doctrine to cure his untimely

 claims runs contrary to well-settled law, (2) Plaintiff’s argument that the collateral

 estopped doctrine is inapplicable misstate the elements of the defense and


                                           -1-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 6 of 18 PageID: 3259



 completely ignore the standards regarding same set forth by the New Jersey

 Supreme Court, (3) Plaintiff has failed to demonstrate that he engaged in any

 protected activity, (4) Plaintiff has failed to demonstrate that Defendant Dalton

 engaged in any conduct that amounted to retaliatory action or a deprivation of

 rights without due process, and (5) Plaintiff has failed to demonstrate that the

 doctrine of qualified immunity does not operate to bar his claims against

 Defendant Dalton.

       Accordingly, for the reasons set forth in Defendant Dalton’s moving brief as

 well as those asserted herein, Defendant Dalton respectfully submits that Plaintiff’s

 claims against him should be dismissed in their entirety with prejudice.

 II.   ARGUMENT

       A.     The “Continuing Violations” Doctrine Does Not Salvage
              Plaintiff’s Untimely Constitutional Claims.
       Plaintiff argues that his claims are timely pursuant to the “continuing

 violations” doctrine because he filed his claims against Defendant Dalton within

 two years of Defendant Dalton advising the WTPD that the criminal investigation

 and prosecution of Plaintiff had ended and therefore the WTPD could proceed with

 its internal affairs investigation as it deemed fit. This argument is flawed for two

 independent reasons.

       First, Plaintiff’s argument runs contrary to well-established law. The

 “continuing violations” doctrine is appropriate for application in the context of a

                                           -2-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 7 of 18 PageID: 3260



 hostile work environment claim where a plaintiff relies on the aggregation of many

 minor acts – no single one of which would give rise to a discrete claim – to support

 his claim. O’Connor v. City of Newark, 440 F.3d 125, 127-28 (3d. 2006). This

 doctrine cannot be applied to discrete acts; rather, claims based on discrete acts

 must be raised within the applicable limitations period or they will be barred. Id.

 Additionally, the Third Circuit has expressly ruled that the continuing violations

 doctrine does not apply in the context of First Amendment retaliation claims. Id. at

 127 (“First Amendment retaliation claims are always individually actionable, even

 when relatively minor”); see also Myers v. County of Somerset. 515 F. Supp. 2d

 492, 501 n.1 (D.N.J. 2007) (“First Amendment retaliation claims are not subject to

 the ‘continuing violations’ exception to the statute of limitations that is applicable

 to hostile work environment claims. A retaliatory act that infringes upon a

 plaintiff’s First Amendment rights is a discrete act”).

       Here, Plaintiff’s claims against Defendant Dalton are not based on the

 cumulative effect of several minor acts as necessary for application of the

 continuing violations doctrine; rather, they rest entirely on Defendant Dalton’s

 supervision of the criminal investigation of Plaintiff – which is a discrete set of

 actions that occurred in 2012 and culminated in Plaintiff’s criminal indictment in

 2013 – well more than two years prior to the initiation of this lawsuit. This alone,




                                           -3-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 8 of 18 PageID: 3261



 along with the Third Circuit’s express direction regarding First Amendment

 retaliation claims, mandates dismissal of those claims.

       Second, and relatedly, the only act which could hypothetically “toll”

 Plaintiff’s claims – Dalton’s act of advising Chief Muniz that the GCPO had

 concluded its criminal investigation and prosecution and that the WTPD could thus

 proceed with its own internal affairs investigation as it deemed fit – does not rise to

 the level of a constitutional violation. As discussed more fully in Defendant

 Dalton’s moving brief, the mere act of “turning over” the investigation to

 Defendant Muniz and the WTPD after the criminal matter was concluded – a fact

 Plaintiff admits is expressly mandated by the Attorney General’s Guidelines (see

 Plaintiff’s Brief in Opposition (“Pb”) at pages 8-9) – is not a retaliatory act

 recognized by any court.1 Cf. Couch v. Bd. of Trs. of the Mem. Hosp., 587 F.3d

 1223, 1243 (10th Cir. 2009) (stating, in the context of a First Amendment

 retaliation claim that “[a]n investigation of potential misconduct ... will generally




 1
   When viewed through this lens, the oddly circular nature of Plaintiff’s theory of
 liability against Defendant Dalton further highlights how this matter is but another
 panicked attempt to shift blame. On one hand, Plaintiff appears to argue that, if
 Dalton had handled the investigation, he would have had a fair process. (Pb30)
 (“Plaintiff was entitled to have the administrative process handled by Defendant
 Dalton’s office and not by Defendant Muniz”). On the other hand, though, Plaintiff
 also argues that Dalton is liable because Dalton was part of a political scheme and
 “worked in concert to deny Plaintiff a fair and impartial process.” (Pb29).
                                           -4-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 9 of 18 PageID: 3262



 not constitute an adverse employment action”). Plaintiff’s claims are thus

 completely time-barred and must be dismissed.

       B.     Plaintiff Has Failed to Demonstrate that His Claims Should
              Survive Application of the Collateral Estoppel Doctrine.

       Even assuming Plaintiff’s claims are not time-barred, Plaintiff’s opposition

 papers readily concede that the present matter arises “from the same core set of

 facts” (Pb2) as the other matters in the Appellate Division, and that Plaintiff’s

 arguments in those matters detailed “that something more was at work in the

 underlying charges against Plaintiff.” (Pb16). Nonetheless, Plaintiff claims that the

 doctrine of collateral estoppel should not operate to bar the present claim which

 has already been thrice litigated in multiple fora. For the following reasons,

 Plaintiff’s opposition in this regard should be rejected.

       First, Plaintiff claims that the issue of political retaliation is not “identical”

 to the issues litigated in the prior matters, that it was not “actually litigated,” and

 that it was not “essential” to the prior decisions because “Dalton can point only to

 one statement within Plaintiff’s opening statement of the administrative hearing to

 argue that he should be precluded from litigating his political retaliation claim.”

 This argument misses the mark for two reasons. As an initial matter, it ignores the

 fact that New Jersey law is clear that the issue need only be “raised” – not fully

 litigated – in order to be precluded by the collateral estoppel doctrine. Winters v.

 No. Hudson Regional Fire & Rescue, 212 N.J. 67, 71-74 (2012). Moreover, it

                                            -5-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 10 of 18 PageID: 3263



  ignores the fact that Defendant Dalton pointed to multiple statements – not just one

  – in which Plaintiff’s counsel did raise the issue during the course of the multiple

  state court litigations that Plaintiff pursued prior to this one related to same core set

  of facts.2 It was the raising of the issue that led the Superior Court of New Jersey to

  specifically find that Plaintiff had raised political retaliation in the CEPA matter

  such that he should be foreclosed from re-litigating the same issue again.3

        Second, Plaintiff’s claims that Defendant Dalton cannot avail himself of the

  protections of the collateral estoppel doctrine because Dalton was not a named

  party to the previous actions is false. The element plaintiff refers to (element 5)

  requires that “the party against whom the doctrine is asserted was a party to or in

  privity with a party to the earlier proceeding.” Winters, 212 N.J. at 85. Defendant

  Dalton is asserting collateral estoppel against Plaintiff; not the other way around.



  2
    Plaintiff appears to argue that, because many of the most blatant examples of
  Plaintiff “raising” political retaliation in the administrative hearings were argument
  of counsel, that he is somehow absolved of the effects of collateral estoppel. This
  is simply not supported by the law. See, e.g., Lyons v. City of Camden, 2018 WL
  1056215, at *4 (N.J.Super.Ct., App.Div., Feb. 27, 2018) (stating that, among other
  things, “[t]he issue of his disability was raised by counsel before, during, and after
  the hearing” and dismissing Plaintiff’s complaint on collateral estoppel grounds).
  As an aside, Plaintiff’s counsel represented the plaintiff in the Lyons matter.
  3
   It should be noted that Plaintiff’s argument that the issue of political retaliation
  was not essential to the prior decision is the same argument that was raised by
  Justice Albin in his dissenting opinion in Winters and that was expressly rejected
  by the majority. See Winters, 212 N.J. at 90 n. 6, 97.

                                             -6-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 11 of 18 PageID: 3264



  Plaintiff’s argument thus fails. Moreover, principles of non-mutual defensive

  collateral estoppel are well established in this Circuit and beyond. See Fresh

  Prepared Foods, Inc. v. Farm Ridge Foods LLC, 2013 U.S. Dist. LEXIS 128064,

  *17-18 (D.N.J. Sept. 9, 2013) (recognizing both defensive and offensive non-

  mutual issue preclusion and stating merely that “the party to be precluded must

  have had a “full and fair” opportunity to litigate the issue in the first action” (citing

  Parklane Hosiery Co, Inc. v. Shore, 439 U.S. 322 (1979)).4

        For these reasons, as well as those submitted in Defendant Dalton’s initial

  moving papers, Plaintiff’s claims should be precluded pursuant to the collateral

  estoppel doctrine.

        C.     Plaintiff’s Political Retaliation Claim Must Also Fail for Failure
               to State a Claim.

        There continue to be two glaring deficiencies in Plaintiff’s Political

  Retaliation claim. First, Plaintiff has failed to plead that Defendant Dalton

  subjected Plaintiff to any adverse employment action. Plaintiff’s groundless

  assertion that Defendant Dalton was “acting as [his] employer in taking over the

  investigation” is not enough. Defendant Dalton was never Plaintiff’s employer and


  4
    Plaintiff also argues that collateral estoppel is unavailable because the other
  matters are pending on appeal. This does not change the analysis. See Bondi v.
  Citigroup, Inc., 423 N.J. Super. 377, 426 (App. Div. 2011) (citing Gregory
  Management Corp. v. Wakefern Food Corp., 207 N.J. Super. 607, 624 (Law Div.
  1986) (holding that "res judicata and collateral estoppel should be applied even if
  the final judgment in the prior action is pending on appeal")).
                                              -7-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 12 of 18 PageID: 3265



  was not involved in the decision to terminate Plaintiff’s employment. To be sure,

  Defendant Dalton was ultimately responsible for a criminal investigation into

  Plaintiff’s conduct. However, it is undisputed that the investigation did not itself

  lead to any adverse employment action. Plaintiff has not pled otherwise (nor could

  he). Thus, Plaintiff’s claims are not properly asserted against Defendant Dalton;

  rather they are claims which can only be asserted against his employer, the WTPD.

        Second, Plaintiff has failed to plead facts sufficient to show that he engaged

  in any protected activity. While Plaintiff claims that he was politically independent

  of Moriarty, he does not claim that he took any action to demonstrate such

  independence other than arresting him. Plaintiff has not claimed that he arrested

  Moriarty for political reasons; rather, he has maintained that he did so in the course

  of duties.5 See N.J.S.A. 40A:14-152.1 (“[A]ny full-time, permanently appointed

  municipal police officer shall have full power of arrest for any crime committed in

  said officer’s presence and committed anywhere within the territorial limits of the

  State of New Jersey”); cf. Kuerbitz v. Meisner, 2017 U.S. Dist. LEXIS 152767,

  *15 (E.D.Mich. Sept. 20, 2017) (dismissing, in part, plaintiff’s First Amendment

  claim because plaintiff’s conduct of arresting certain public officials at a


  5
   This is not surprising, as it certainly is not proper for police officers to make
  arrests for political reasons. If that argument were taken to its logical conclusion,
  mayhem could result. Police officers could arrest anyone they like for political
  reasons and then claim insulation from discipline pursuant to the theory asserted by
  Plaintiff here – this is certainly not the spirit, intent, or reality of the law.
                                              -8-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 13 of 18 PageID: 3266



  foreclosure auction would not have conveyed any message to unknowing

  participants aside from “violence, force and confusion”). He cannot therefore

  establish any “protected activity” and his claim must fail.

        D.     Plaintiff’s Equal Protection Claim Still Fails as a Matter of Law.

        Plaintiff’s opposition papers argue that the Equal Protection Class of One

  claim set forth in Count V of the Second Amended Complaint should survive

  dismissal because (1) there has been no final judgment issued in Plaintiff’s

  administrative appeal, (2) the claim is not a class of one claim, and (3) Defendant

  Dalton was indirectly responsible for the disparate treatment suffered by the other

  officers involved in the Moriarty arrest – Calvello and Fratelli – because

  “Defendant Muniz and the WTPD were precluded from the investigation involving

  Moriarty and his complaints about his arrest.” For the reasons set forth below, none

  of these arguments are sufficient to save Plaintiff’s claim.

        First, Plaintiff’s Equal Protection claim should be dismissed pursuant to the

  doctrine of collateral estoppel for the same reasons as noted above and in

  Defendant Dalton’s initial brief. Plaintiff opposes this argument by attempting to

  distinguish this case from the very similar Zahl case cited in Defendant Dalton’s

  initial brief by arguing, “Unlike Zahl, there has been no final judgment issued in

  Plaintiff’s administrative appeal.” (Pb25). But the fact that Plaintiff has appealed

  the final judgment that was rendered against him does not mean that the judgment


                                           -9-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 14 of 18 PageID: 3267



  is not a final one. See Bondi v. Citigroup, Inc., 423 N.J. Super. 377, 426 (App. Div.

  2011) (citing Gregory Management Corp. v. Wakefern Food Corp., 207 N.J.

  Super. 607, 624 (Law Div. 1986)).

         Second, Plaintiff’s claim that his Equal Protection claim is not based on a

  class of one theory is bogus. Count V of Plaintiff’s Second Amended Complaint is

  titled “Equal Protection Class of One” (emphasis added). After being confronted

  with the fact that the United States Supreme Court has denounced such theories,

  Plaintiff now claims that “any fair reading of the claim … clearly establishes that it

  is not pled as a class of one theory” and suggests that the title was simply

  “inartfully drafted.” Plaintiff’s last ditch attempts to re-title this claim are futile

  because, regardless of what Plaintiff now calls it, his claim is based on a class of

  one theory and is barred by the Supreme Court ruling in Enquist v. Oregon Dep’t

  of Agric., 553 U.S. 591 (2008).

         To that end, Plaintiff has not set forth any argument that he was treated

  differently due to his membership in any particular class. Rather, Plaintiff oddly

  argues the opposite. Specifically, Plaintiff now claims that he was a member of a

  class – a class of three officers who were involved in the Moriarty arrest – but then

  turns around and claims that he was the only member of this so-called class of

  three who was singled out and treated less favorably than the other class members.

  This argument is nonsensical, as Plaintiff is arguing on one hand that he is in a

                                             -10-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 15 of 18 PageID: 3268



  class but then arguing on the other hand that he is removed from that very class

  because he suffered less favorable treatment than the other class members.6 In

  doing so, Plaintiff has dealt a fatal blow to his own claim, as that is precisely the

  type of claim that the Enquist Court struck down. Enquist, 553 U.S. at 605 (“[W]e

  have never found the Equal Protection Clause implicated in the specific

  circumstance where, as here, government employers are alleged to have made an

  individualized, subjective personnel decision in a seemingly arbitrary or irrational

  manner”).

        Finally, Plaintiff’s argument that Defendant Dalton is somehow responsible

  for the allegedly “favorable” treatment that Calvello and Fratelli enjoyed should be

  rejected outright for several reasons. Plaintiff has not pled and cannot plead that

  Defendant Dalton was ever the employer of Calvello or Fratelli. He has pled no

  facts suggesting that Dalton had anything to do with the WTPD’s decision to

  discipline them or to promote them. These types of decisions were not in

  Defendant Dalton’s sphere, as he is not a member of the WTPD and never served


  6
    Plaintiff’s argument devolves into the claim that he was in a class of one within a
  class of three. Plaintiff could just the same argue that he was in a class of all of the
  police officers in Washington Township, or all New Jersey residents, or all
  humans, and it would be akin to his argument now. Plaintiff’s true claim is just that
  he was treated unfairly, not that he was treated unfairly based on his status as a
  protected class member. Plaintiff’s new efforts to recast his claim are simply an
  attempt to end run around the ruling of United States Supreme Court in Enquist v.
  Oregon Dep’t of Agric., 553 U.S. 591 (2008). Plaintiff’s attempts to do so should
  be denied.
                                             -11-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 16 of 18 PageID: 3269



  as the employer of Calvello, Fratelli, or Plaintiff. Again, Plaintiff has not alleged

  any facts which would plausibly support any claim to the contrary.

        For all of the foregoing reasons, as well as those set forth in Defendant

  Dalton’s initial brief, Plaintiff’s Equal Protection claim should be dismissed.

        E.     Plaintiff’s Due Process Claim Still Fails as a Matter of Law.
        Plaintiff’s silence on the actual nature of the post-termination procedures

  afforded to him speaks louder than the argument he actually puts forward.

  Essentially, Plaintiff argues that the decision which voided Washington

  Township’s Rules and Regulations constitutes per se evidence that he was not

  afforded due process – Plaintiff has cited no law supporting this over-reaching

  position. The fact that the Rules and Regulations were voided does not magically

  dissipate the extensive process that was afforded to Plaintiff and that continues to

  be afforded to Plaintiff. Plaintiff has participated in extensive administrative

  hearings before the Honorable Barnett E. Hoffman, J.S.C. (ret.), during which he

  was represented by counsel and had a full opportunity to call and cross-examine

  witnesses as desired and then took advantage of the opportunity for a de novo

  review in the New Jersey Superior Court that was overseen by a second

  independent fact-finder, the Honorable David Morgan, J.S.C. Even now, Plaintiff

  continues to afford himself of more than adequate process, as he is continuing to

  challenge his termination via two pending appeals that he has filed with the


                                           -12-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 17 of 18 PageID: 3270



  Appellate Division. This process is certainly adequate and Plaintiff has cited no

  law which would require more.

        F.     Plaintiff’s Argument that Defendant Dalton is Not Entitled to
               Immunity Because He Was Not Acting in an Investigative or
               Administrative Capacity Is Without Merit.

        Plaintiff’s efforts to skirt around the valid Third Circuit law cited in

  Defendant Dalton’s initial moving papers, which dictate that actions taken by

  prosecutors in an administrative or investigative capacity are entitled to protection

  under the qualified immunity doctrine, must fail. See Carter v. City of Phila., 181

  F.3d 339, 356 (3d Cir. 1999) (prosecutors are protected by qualified immunity for

  all actions taken in an “investigative or administrative capacity” (internal quotation

  marks omitted)); see also Michaels v. New Jersey, 50 F.Supp.2d 353, 362 (D.N.J.

  1999). Without any legal support, Plaintiff summarily claims that Defendant

  Dalton was not acting in such an investigative or administrative capacity; rather,

  Plaintiff claims, Defendant Dalton was acting “in a supervisor manner in taking

  over the Internal Affairs investigation for Defendant Muniz and was acting as the

  employer in taking over the investigation.” There is no reasonable argument that

  Defendant Dalton was acting in anything but an investigative capacity when he

  was overseeing the criminal investigation of which Plaintiff was the target.

  Plaintiff has pointed to no legal authority which would support any contrary

  position nor has Plaintiff pointed to any source supporting the claim that Defendant


                                           -13-
Case 1:17-cv-05120-JHR-AMD Document 65 Filed 12/10/18 Page 18 of 18 PageID: 3271



  Dalton somehow became Plaintiff’s employer by virtue of supervising this

  criminal investigation. These arguments are baseless and constitute nothing but a

  self-serving attempt to avoid application of the qualified immunity doctrine – the

  application of which is in fact appropriate in this context per the valid Third Circuit

  law cited above.

  III.    CONCLUSION

          For all of the foregoing reasons, Defendant Sean Dalton respectfully

  requests that this Court grant his Motion to Dismiss Counts II, IV and V and, in the

  Alternative, for Summary Judgment as to Count IV, dismissing Plaintiff’s Second

  Amended Complaint in its entirety with prejudice.

                                                  Respectfully submitted,
                                                  ARCHER & GREINER
                                                  A Professional Corporation
                                                  Attorneys for Defendant Sean Dalton

                                                  By: /s/ Laura Link, Esquire
                                                         John C. Connell, Esquire
                                                         Laura Link, Esquire
  Dated: December 10, 2018                               Daniel J. DeFiglio, Esquire




  215600067v2




                                           -14-
